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                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF OHIO
                             WESTERN DIVISION

 CALLIE ROBINSON-LEE,                          :     Case No. 1:21-cv-427
     Plaintiff,                                :
                                               :     Judge Timothy S. Black
 vs.                                           :
                                               :     Magistrate Judge Stephanie Bowman
 OMNICARE/CVS HEALTH/CVS, et al.,              :
     Defendants.                               :

                        DECISION AND ENTRY
            ADOPTING THE REPORT AND RECOMMENDATION
        OF THE UNITED STATES MAGISTRATE JUDGE (Doc. 11); AND
           TERMINATING THIS CASE ON THE COURT’S DOCKET

       This case is before the Court pursuant to the Order of General Reference to United

States Magistrate Judge Stephanie K. Bowman. Pursuant to such reference, the

Magistrate Judge submitted a Report and Recommendation on June 7, 2022,

recommending that Defendants’ motion to dismiss and compel arbitration be

GRANTED. (Doc. 11). No objections were filed to the Report and Recommendation,

and the time for doing so has now expired.

       As required by 28 U.S.C. § 636(b) and Fed. R. Civ. P. 72(b), the Court has

reviewed the comprehensive findings of the Magistrate Judge and considered de novo all

of the relevant filings in this case. Upon consideration of the foregoing, the Court finds

that the Report and Recommendation should be and is hereby adopted in its entirety.

Accordingly:

       1.      The Report and Recommendation (Doc. 11) is ADOPTED;

       2.      Defendants’ motion to dismiss and to compel arbitration (Doc. 6) is
               GRANTED;
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      3.    The above-referenced civil action is hereby DISMISSED;

      4.    The Clerk shall enter judgment accordingly, whereupon this case shall be
            TERMINATED on the docket of this Court; and

      5.    Pursuant to 28 U.S.C. § 1915(a), the Court certifies that an appeal of this
            Order would not be taken in good faith and, therefore, this Court DENIES
            Plaintiff leave to appeal in forma pauperis.

      IT IS SO ORDERED.

Date: 6/24/2022                                            s/Timothy S. Black
                                                         Timothy S. Black
                                                         United States District Judge




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